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                                IN THE UNITED STATES DISTRJCT COURT

                                    FOR THE DISTRJCT OF OREGON


     MARY WICKENKAMP

                   Plaintiff,
                                                                      2: 15-CV-296-PK

                                                                      FINDINGS AND
     v.                                                               RECOMMENDATION



     HOSTETTER LAW GROUP, LLP, HOSTETTER
     KNAPP LLP, D. ZACHARY HOSTETTER, D.
     RAHN HOSTETTER, BRUCE HAMPTON,
     VENESE HAMPTON, KEVIN SALI, DAVID
     ANGELI, REBECCA KNAPP, BENJAMIN N.
     SOUEDE, SCOTT HAMPTON, and ANGELI
     LAW GROUP,

                   Defendants.

     PAPAK, Magistrate Judge:

            Plaintiff pro se Mary Wickenkamp filed this action against the Hostetter Law Group, LLP

     ("HLG"), Hostetter Knapp LLP ("HK"), D. Zachary Hostetter ("Zachary"), D. Rahn Hostetter

     ("Rahn" and, collectively with Zachary, the "Hostetters"), Biuce Hampton ("Bruce"), Venese

     Hampton ("Venese"), Kevin Sali, and David Angeli on Februaty 19, 2015. Wickenkamp

     amended her complaint effective April 10, 2015, adding as additional defendants Rebecca

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Knapp, Benjamin N. Souede, Marilyn Preston Suarez ("Marilyn"), Efrain Suarez ("Efrain" and,

collectively with Marilyn, the "Suarezes"), and the American Bank of Missouri ("ABM").

Wickenkamp amended her complaint a second time on May 4, 2015. By and through her second

amended complaint, Wickenkamp stated a total of seventeen claims against the defendants,

collectively.

        On December 3, 2015, I recommended that all ofWickenkamp's claims be dismissed,

certain of them with prejudice and certain of them without, and further recommended both that

Wickenkamp be directed to amend her pleading as to any of her claims as to which she believed

the identified deficiencies were subject to cure by amendment to restate those claims in a manner

compliant with Rule 8 and all other applicable pleading requirements within thirty days and to

effect service on any defendant named in any such restated claim who had not yet been served

with process herein within thirty days after filing such third amended complaint and that

Wickenkamp be advised (i) that should she fail to comply with Rule 8 or other applicable

pleading requirements in drafting her third amended complaint, any claims alleged in a

noncompliant manner would be subject to dismissal with prejudice, and (ii) that should she fail

to serve any named defendant with process within the prescribed time period, her claims would

be subject to dismissal with prejudice to the extent alleged against any unserved defendant. On

Januaiy 31, 2016, Judge Hernandez adopted my recommendations without modification.

       On March 2, 2016, Wickenkamp moved for extension of time within which to file her

contemplated third amended complaint to March 7, 2016, and on March 7, 2016, she filed her

third amended complaint, abandoning her claims to the extent alleged against the Suarezes and

ABM, and adding as new defendants Scott Hampton ("Scott" and, collectively with Bruce and


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Vanese, the"Hamptons") and the Angeli Law Group ("ALG" and, collectively with Angeli, Sali,

and Souede, the "ALG defendants"). By and through her third amended complaint, Wickenkamp

alleges (i) the liability of defendants Bruce, Vanese, Knapp, Zachary, HK, HLG, and the ALG ·

defendants under Oregon collllllon law for invasion of privacy by false light arising out of

allegations made by Bruce and Vanese by and through Knapp, Zachmy, HK, HLG, and the ALG

defendants in their capacities as Bruce and Vanese's legal representatives in the course of

litigation against various third parties to this lawsuit, and (ii) the liability of the Hamptons,

Knapp, the Hostetters, HK, and HLG under Oregon collllllon law for invasion of privacy by

intrusion upon seclusion arising out of those defendants' conduct in recording telephone

conversations between plaintiff and her husband. Wickenkamp seeks award of economic,

non-economic, and punitive damages in unspecified amounts. On April 5, 2016, I granted

Wickenkamp's motion for extension of time nunc pro tune and deemed her third amended

complaint timely filed as of March 7, 2016.

          It appears to be Wickenkamp's position that this court may properly exercise diversity

jurisdiction over her claims pursuant to 28 U.S.C. § 1332(a) based on the complete diversity of

the pmiies, notwithstanding the fact that the amount in controversy in connection with her claims

cannot be ascertained from the allegations of her pleading. See Third Amended Complaint, ~ 2,

passim.

       Now before the court are (i) Zachmy's and HLG's motion (#59) to dismiss Wickenkamp's

claims in their entirety on subject-matter jurisdictional grounds, in the alternative to strike

Wickenkamp's claims in their entirety pursuant to Or. Rev. Stat. §§ 31.150 - 31.155, Oregon's

anti-SLAPP ("Strategic Lawsuit Against Public Participation") statuto1y scheme, and in the


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further alternative to dismiss Wickenkamp's claim of invasion of privacy by intrusion upon

seclusion to the extent alleged against them for failure to state a claim upon which relief may be

granted, (ii) Angeli's and Sali's motion (#60) to dismiss Wickeiikamp's claim of invasion of

privacy by false light on personal jurisdictional grounds to the extent alleged against them, in the

alternative to strike that claim pursuant to Oregon's anti-SLAPP st;itutmy scheme, and in the

fu1iher alternative to dismiss that claim for failure to state a claim upon which reiief may be

granted, and (iii) Wickenkamp's motion (#97) and amended motion (#101) for judicial notice. I

have considered the motions and all of the pleadings and papers on file.

       For the reasons set forth below, (i) Zachary's and HLG's motion (#59) to dismiss and/or to

strike should be granted as to both of Wickenkamp's claims in their entirety for lack of subject-

matter jurisdiction and for failure to comply with Judge Hernandez' order (#45) dated Janumy 31,

2016, and should otherwise be denied as moot, (ii) all other pending motions should likewise be

denied as moot, and (iii) a final judgment should be prepared.

                                     LEGAL STANDARDS

I.     Motion to Dismiss for Lack of Subject-iVIatter Jurisdiction

       The federal comis are courts of limited jurisdiction. See, e.g., Exxon 1'1Jobil Corp. v.

Allapattah Servs., 545 U.S. 546, 552 (2005), citing Kokkonen v. Guardian Life Ins. Co. of

America, 511 U.S. 375, 377 (1994). As such, the comis presume that causes of action "lie[]

outside this limited jurisdiction, and the burden of establishing the contrary rests upon the party

asserting jurisdiction." Kokkonen, 511 U.S. at 377; see also, e.g., Vacek v. United States Postal

Serv., 447 F.3d 1248, 1250 (9th Cir. 2006).

       A motion under Federal Civil Procedure Rule 12(b)(1) to dismiss for lack of subject-


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matter jurisdiction may be either "facial" or "factual." See Safe Air v. 1'1Jeyer, 373 F.3d 1035,

1039 (9th Cir. 2004), citing White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). In a facial attack

on subject-matter jurisdiction, the moving party asserts that a plaintiffs allegations are

insufficient on their face to invoke federal jurisdiction, whereas in a factual attack, the moving

party disputes the factual allegations that, if true, would give rise to subject-matter jurisdiction.

Where a defendant raises a facial challenge to subject-matter jurisdiction, the factual allegations

of the complaint are presumed to be true, and the motion may be granted only ifthe plaintiff fails

to allege an element necessary for subject matter jurisdiction. See Savage v. Glendale Union

High Sch., 343 F.3d 1036, 1039 n. 2 (9th Cir. 2003). By contrast, where a defendant raises a

factual challenge to federal jurisdiction, "the district coUlt may review evidence beyond the

complaint without converting the motion to dismiss into a motion for summary judgment," Safe

Air v. }vfeyer, 373 F.3d at 1039, citing Savage, 343 F.3d at 1039 n. 2, and "need not presume the

truthfulness of the plaintiffs allegations," id., citing White, 227 F.3d at 1242.

        "Defective allegations of jurisdiction may be amended, upon terms, in trial or appellate

courts." 28 U.S.C. § 1653. It is improper to dismiss an action based on a defective allegation of

jurisdiction without leave to amend "unless it is clear, upon de novo review, that the complaint

could not be saved by amendment." Snell v. Cleveland, Inc., 316 F.3d 822, 828 n.6 (9th Cir.

2002), citing Lee v. City ofLos Angeles, 250 F.3d 668, 692 (9th Cir. 2001).

II.     Motion to Dismiss for Lack of Personal Jurisdiction

        A motion to dismiss for lack of personal jurisdiction is governed by Federal Civil

Procedure Rule 12(b)(2). See Fed. R. Civ. P. 12(b)(2). "In opposition to a defendant's motion to

dismiss for lack of personal jurisdiction, the plaintiff bears the burden of establishing that


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jurisdiction is proper." Bosche/to v. Hansing, 539 F.3d 1011, 1015 (9th Cir. 2008), citing Sher v.

Johnson, 911F.2d1357, 1361 (9th Cir. 1990). In evaluating the defendant's motion, "[t]he court

may consider evidence presented in affidavits to assist it in its determination and may order

discove1y on the jurisdictional issues." Doe v. Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001),

citing Data Disc, Inc. v. Systems Technology Assoc., Inc., 557 F.2d 1280, 1285 (9th Cir. 1977).

If the court decides the motion based on the pleadings and affidavits submitted by the parties

without conducting an evidentiary hearing, "the plaintiff need make only a prima facie showing

of jurisdictional facts to withstand the motion to dismiss." Id, quoting Ballard v. Savage, 65

F.3d 1495, 1498 (9th Cir. 1995). In the absence of such an evidentiaiy hearing, the court accepts

uncontroverted allegations contained within the plaintiffs complaint as true, and resolves

conflicts between statements contained within the parties' affidavits in the plaintiffs favor. See

id.

III.   Special Motion to Strike

       "Or. Rev. Stat. §§ 31.150 - 31.155 comprise Oregon's anti-SLAPP ("Strategic Lawsuit

Against Public Paiticipation") statute[]. Anti-SLAPP statutes are designed to allow the early

dismissal of meritless lawsuits aimed at chilling expression through costly, time-consuming

litigation." In re Gardner, 563 F.3d 981, 986 (9th Cir. 2009), citing Verizon Delaware, Inc. v.

Covad Comms. Co., 377 F.3d 1081, 1090 (9th Cir. 2004).

       Section 31.150 allows defendants to bring a special motion to strike a claim which
       shall be treated as a motion to dismiss under Or. R. Civ. P. 21 A and requires the
       court to enter a "judgment of dismissal without prejudice" if the motion is granted.
       The court's consideration of a special motion to strike is a two-step process.
       First, the defendant has the initial burden to show that the challenged
       statement is within one of the categories of civil actions described in Or. Rev.
       Stat.§ 31.150(2). If the defendant meets the initial burden, "the burden
       shifts to the plaintiff in the action to establish that there is a probability that

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         the plaintiff will prevail on the claim by presenting substantial evidence to
         support a prima facie case. If the plaintiff meets this burden, the coutt shall
         deny the motion." Or. Rev. Stat. § 31.150(3).

In re Gardner, 563 F.3d at 986 (emphasis supplied; footnote omitted).

        In evaluating special motions to strike under Section 31.150, the Oregon cou1ts consider

"the facts underlying plaintiffs' claims in the light most favorable to plaintiffs," Neumann v. Liles,

261 Or. App. 567, 570 n. 2 (2014), and do not weigh the evidence or make any detennination of

the likelihood that plaintiffs will ultimately prevail, citing Young v. Davis, 259 Or. App. 497, 508

(2013). Each of the two steps of the process-the defendant's burden to show that the challenged

statement is within the scope of the anti-SLAPP statute and the plaintiffs burden to establish "a

probability" that the claims will prevail "by presenting substantial evidence to support a prima

facie case" -presents a question of law. Id. at 572, citing Young, 259 Or. App. at 507-510.

Section 31.150 is intended to create and does create a "low bar" for plaintiffs to overcome, and is

intended only "to weed out meritless claims meant to harass or intimidate-not to require that a

plaintiff prove its case before being allowed to proceed further." Young, 259 Or. App. at 508,

citing Staten v. Steel, 222 Or. App. 17, 32 (2008) ("The purpose of the special motion to strike

procedure ... is to expeditiously terminate unfounded claims that tln·eaten constitutional free

speech rights, not to deprive litigants of the benefit of a jury determination that a claim is

meritorious" (emphasis original)). A plaintiff meets its burden under Section 31.150 by

submitting evidence that, if credited, "would permit a reasonable factfinder" to rule in the

plaintiffs favor. Neumann, 261 Or. App. at 575; see also Young, 259 Or. App. at 508 ("the

presentation of substantial evidence to support a prima facie case is, in and of itself, sufficient to

establish a probability that the plaintiff will prevail; whether or not it is 'likely' that the plaintiff


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will prevail is irrelevant in dete1mining whether it has met the burden of proof set forth by ORS

31.150(3)" (emphasis original)). As necessarily follows from the foregoing, the fact that the

defendant may present substantial evidence to the contrary is likewise irrelevant to determining

whether the plaintiff has met his burden. See Young, 259 Or. App. at 510.

        The Oregon courts "look to California case law [in construing Section 31.150 et seq.]

because Oregon's anti-SLAPP statute was 'modeled on California statutes' and '[i]t was intended

that California case law would inform Oregon courts regarding the application of ORS 31.150 to

ORS 31.155."' Neumann, 2014 Ore. App. LEXIS 296, *9 n. 3, quoting Page v. Parsons, 249 Or.

App. 445, 461 (2012).

IV.     l\<Iotion to Dismiss for Failure to State a Claim

        To survive dismissal for failure to state a claim pursuant to Rule 12(b)(6), a complaint

must contain more than a "formulaic recitation of the elements ofa cause of action;" specifically,

it must contain factual allegations sufficient to "raise a right to relief above the speculative level."

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). To raise a right to relief above the

speculative level, "[t]he pleading must contain something more ... than ... a statement of facts

that merely creates a suspicion [of] a legally cognizable right of action." Id., quoting 5 C. Wright

& A. Miller, Federal Practice and Procedure§ 1216, pp. 235-236 (3d ed. 2004); see also Fed. R.

Civ. P. 8(a). Instead, the plaintiff must plead affomative factual content, as opposed to any

merely concluso1y recitation that the elements of a claim have been satisfied, that "allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged."

Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949 (2009). "In sum, for a complaint to

survive a motion to dismiss, the non-conclusory 'factual content,' and reasonable inferences from


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that content, must be plausibly suggestive ofa claim entitling the plaintiff to relief." },;Joss v.

 United States Secret Serv., 572 F.3d 962, 970 (9th Cir. 2009), citing Iqbal, 129 S. Ct. at 1949.

        "In ruling on a 12(b)( 6) motion, a court may generally consider only allegations contained

in the pleadings, exhibits attached to the complaint, and matters properly subject to judicial

notice." Swartz v. KPJ'v!G LLP, 476 F.3d 756, 763 (9th Cir. 2007). In considering a motion to

dismiss, this comt accepts all of the allegations in the complaint as true and construes them in the

light most favorable to the plaintiff. See Kahle v. Gonzales, 474 F.3d 665, 667 (9th Cir. 2007).

Moreover, the comt "presume[s] that general allegations embrace those specific facts that are

necessary to support the claim." Nat'/ Org. for Women v. Scheidler, 510 U.S. 249, 256 (1994),

quoting Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). The court need not, however,

accept legal conclusions "cast in the fo1m of factnal allegations." Western }vfining Council v.

Watt, 643 F.2d 618, 624 (9th Cir. 1981).

                                       JUDICIAL NOTICE

       Wickenkamp requests that this comt take judicial notice of the dockets and all of the

filings in Hampton et al. v. Steen et al. ("Hampton I"), Case No. 2:12-CV-470-AA, filed in the

United States District Cou1t for the District of Oregon, and in Hampton et al. v. Steen et al.

("Hampton 11''), Case No. 14-36025, filed in the Ninth Circuit Comt of Appeals on appeal from

Hampton I. Wickenkamp makes her request through a motion (#97) filed May 16, 2016, and

through an amended motion (#101) filed May 19, 2016. Because the amended motion appears

intended to supercede the originally filed motion, the motion (#97) filed May 16, 2016, should be

denied as moot. Because the docket and filings in the two proceedings contain fit matters for

judicial notice, Wickenkamp's request as articulated by and through her amended motion (#101)


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filed May 19, 2016, should be granted. See Fed. R. Evid. 201.

       In material pati, the noticed filings establish as follows.

       On March 15, 2012, Bruce, Vanese, and the trustee of the Bruce & Venese Hampton

Charitable Trust I and the Bruce & Venese Hampton Charitable Trust II (the "Hampton trustee"

and, collectively with Bruce and Vanese, the "Hampton I plaintiffs") brought an action in this

comi against Wallowa County, the Wallowa County Sheriffs Office, and the Sheriff of Wallowa

County in both his individual and his official capacities (collectively, the Hampton I

defendants"). The Hampton I plaintiffs were represented in connection with the Hampton I

litigation by Angeli, Sali, Souede, Knapp, and Zachary. By and through their complaint as filed

on March 15, 2012, Bruce, Vanese, and the Hampton trustee alleged, inter alia, as follows:

       7.      In 2007, Lloyd Trackwell, [the Sheriff of Wallowa County], [the Wallowa
               County Sheriffs Office], Judith Trackwell, [Mary] Wickenkamp, and
               Lloyd Trackwell, Sr., associated together for the purpose ofdiscrediting,
               defaming, coercing, and injuring Marilyn Suarez, AC3, Inc., ... [the
               Hampton I] plaintiffs and others. The above-referenced persons also
               associated together to engage in activities that caused expense and
               economic loss to Marilyn Suarez, AC3, Inc., [the Hampton I] plaintiffs,
               and others in order to cause [the Hampton I] defendants' victims to pay
               money they do not owe, or to cause [the Hampton I] defendants' victims to
               abandon attempts to collect money that [the Hampton I] defendants, or one
               of them, owed to their victims.

       ***
       11.    From time to time from March 6, 2008 to the present, Lloyd Trackwell,
              Steen, [the Wallowa County Sheriffs Office], and/or Judith Trackwell,
              with assistance from Wickenkamp, filed false repo1is with [the Oregon
              Depatiment of Consumer and Business Services], the Oregon State Police,
              the Oregon Depatiment of Justice, the Internal Revenue Service, the
              Federal Bureau oflnvestigation, and the Financial Crimes Enforcement
              Network of the United States Depatiment of the Treasury, alleging, among
              other things, that [the Hampton I] plaintiffs had conspired with Marilyn
              Suarez, Wallowa Title Company, and others to commit the crimes of
              money laundering, theft, tax evasion, and fraud.

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      12.   In August 2007, Lloyd Trackwell sought and procured an agreement to
            serve as an agent for [ABM], a Missouri banking corporation, in seeking
            collection of a debt allegedly owed by [the Hampton J] plaintiffs to ABM.
            ABM agreed to pay Lloyd Trackwell 45% of any monies Lloyd Trackwell
            collected from [Bruce, Vanese, and the Hampton trustee] on the alleged
            debt. Lloyd Trackwell, Steen, [the Wallowa County Sheriffs Office], and
            Judith Trackwell, along with Wickenkamp, conspired to collect the debt
            through unlawful debt collection practices, defamation, coercion and
            extortion. The referenced persons have pursued that conspiracy and plan
            against [the Hampton J] plaintiffs from 2007 to the present. [The
            Hampton J] plaintiffs were not validly indebted to ABM at any material
            time.

     ***
     16.    From 2007 to the present, Judith Trackwell and Wickenkamp have
            conspired with and assisted Lloyd Trackwell in his eff01is to collect the
            alleged debt from [the Hampton J] plaintiffs as alleged above, and have
            fu1iher conspired with and assisted Lloyd Trackwell and Steen in their
            illegal campaign to injure [the Hampton J] plaintiffs as alleged below. . ..

     ***
     36.    On December 29, 2008, Judith Trackwell signed and filed a falsely sworn
            affidavit in Hood River County Circuit Court in which she falsely swore
            that she had a pending deal to sell the Inmaha Ranch to a nonprofit
            corporation called Western Horizons Conservation Society, that Mary
            Dorrenbach aka Wickenkamp was the principal of Western Horizon with
            whom she was dealing, that an escrow had been opened with First
            American Title Company, and that attorney Jeffrey Fraizier had interfered
            with the deal and caused its tem1ination. Judith Trackwell knew that
            Western Horizons was a sham corporation created by [the Hampton J]
            defendants for fraudulent purposes, that it had no resources to purchase
            anything, and that there was no real "deal" with which to interfere.

     ***
     38.    On December 29,2008, Wickenkamp (aka Maty Donenbach) signed and
            filed a falsely sworn affidavit that she was "Mary Donenbach", that she
            had made an offer of $9,000,000 to purchase the Inmaha Ranch, and that
            calls from attorney Jeffrey Frazier to her had caused her to terminate the
            deal. (Wickenkamp knew that Western Horizons Conservation Society
            was a sham corporation created by [the Hamption J] defendants for
            fraudulent purposes and that there was no real "deal" with which to

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                interfere.)

        39.     Wickenkamp's actions set out above violated ORS 162.075 (false
                swearing) and ORS 162.065 (perjury).

       ***
       42.      On October18, 2008, Lloyd Trackwell and Judith Trackwell, with the
                assistance of Lloyd Trackwell, Sr., and Wickenkamp, submitted a false
                application to [the Oregon Watershed Enhancement Board] in which they
                falsely asse1ted that Western Horizons Conservation Society, a sham
                nonprofit corporation (created by [the Hampton I] defendants for
                fraudulent purposes) was willing to purchase the Imnaha Ranch for
                $9,000,000. (They knew when making the application to [the Oregon
                Watershed Enhancement Board] that Western Horizons Conservation
                Society was a sham corporation created by them for fraudulent purposes
                and that the "deal" to purchase the Imnaha Ranch did not exist.)

       43.      These actions as set out above violated ORS 162.085 (unswom
                falsification).

Hampton I,    Complaint,~~    7, 11-12, 16, 36, 38-39, 42-43. Neither Lloyd Trackwell nor

Wickenkamp was named as a defendant in the original Hampton I complaint. The Hampton

I plaintiffs amended their complaint effective May 29, 2012, adding Lloyd Trackwell as an

additional defendant. The Hampton I amended complaint contained substantially the same

allegations of Wickenkamp's improper conduct as were contained in the original Hampton I

complaint. See Hampton I, Amended Complaint. The Hampton I plaintiffs amended their

complaint a second time on August 8, 2013, adding an additional defendant and making

substantially the same allegations of Wickenkamp's improper conduct as were contained in the

original Hampton I complaint. See Hampton I, Second Amended Complaint. The Hampton I

plaintiffs amended their complaint a third time on April 15, 2014, making substantially the same

allegations of Wickenkamp's improper conduct as were contained in the original Hampton I

complaint. See Hampton I, Third Amended Complaint. Judge Aiken dismissed the Hampton I

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plaintiffs' claims effective October 28, 2014. Judge Aiken's ruling is cunently under appeal. See

Hampton II.

                                    FACTUAL BACKGROUND

I.     Wickenkamp's Allegations in Support of Her Claims 1

       Between 2009 and 2014, the Hamptons intercepted and recorded Lloyd Trackwell's

telephone conversations, including his conversations with Wickenkamp. The Hamptons

disseminated information gleaned from those recorded conversations to Zachary, Rahn, Knapp,

HK, and HLG "for use in court matters, public dissemination and dissemination to third parties."

Third Amended Complaint,     ~   13. It is Wickenkamp's position that the interception and recording

of her conversations with Lloyd Trackwell constituted to1iious invasion of her privacy.

       By and through the complaint and amended complaints filed on March 15 and May 29,

2012, August 8, 2013, and April 15, 2014, in Hampton I, and while represented for purposes of

litigating Hampton I by Zachary, Knapp, Angeli, Sali, Souede, HK, HLG, and ALG, Bruce and

Vanese alleged that Wickenkamp had conspired with Lloyd Trackwell and others to engage in

illegal and improper conduct, with full awareness that such allegations were false. It is

Wickenkamp's position that those allegations t01iiously portrayed her to the public in a false and

damaging light.

II.    Material Procedural History

       As noted above, Wickenkamp filed this action against the Hostetters, HLG, HK, Bruce,



       1
          Except where otherwise indicated, the following recitation constitutes my construal of
the allegations of plaintiff Wickenkamp's third amended complaint, of any matters incorporated
by reference therein, and of any matters properly subject to judicial notice in the light most
favorable to Wickenkamp.

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Vanese, Sali, and Angeli on February 19, 2015, stating four claims against those defendants

collectively. On February 23, 2015, summons issued as to defendants Bruce, Vanese, HLG, HK,

and Zachmy only.

       Also as noted above, Wickenkamp amended her complaint effective April 10, 2015,

adding as additional defendants Knapp, Souede, the Suarezes, and ABM, and increasing to

fifteen the number of claims alleged.

       Retum of service in connection with the summons that issued on Februmy 23, 2015, was

filed executed as to defendants Zachmy, HK, and HLG on April 30, 2015. On May 4, 2015,

summons issued as to defendants Angeli, Sali, Souede, and Efrain.

       Also on May 4, 2015 (as noted above), Wickenkamp amended her complaint a second

time, alleging a total of seventeen claims against the then-named defendants.

       It appears that in September 2015, Wickenkamp attempted to effect service of process on

defendants Angeli and Sali (and possibly additional defendants) by sending copies of the

summons, complaint, and first amended complaint (but not the second amended complaint,

Wickenkamp's then-operative pleading) to their offices via certified mail.

       On December 3, 2015 (as noted above), I recommended that all of Wickenkamp's claims

be dismissed, ce1iain of them with prejudice and ce1iain of them without, and fmiher

recommended both that Wickenkamp be directed to amend her pleading as to any of her claims

as to which she believed the identified deficiencies were subject to cure by amendment to restate

those claims in a manner compliant with Rule 8 and all other applicable pleading requirements

within thhiy days and to effect service on any defendant named in any such restated claim who

had not yet been served with process herein within thirty days after filing such third amended


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complaint and that Wickenkamp be advised (i) that should she fail to comply with Rule 8 or

other applicable pleading requirements in drafting her third amended complaint, any claims

alleged in a noncompliant manner would be subject to dismissal with prejudice, and (ii) that

should she fail to serve any named defendant with process within the prescribed time period, her

claims would be subject to dismissal with prejudice to the extent alleged against any unserved

defendant. On Janumy 31, 2016 (also as noted above), Judge Hernandez adopted my

recommendations without modification. Thus, Judge Hernandez' order (#45) of Janumy 31,

2016, constituted this court's order that Wickenkamp serve all defendants not previously served

with process by not later than thirty days after the date she filed her contemplated third amended

complaint, and further constituted express notice to Wickenkamp that her claims would be

subject to summmy dismissal to the extent alleged against any defendant not served within or

before that time.

       On March 2, 2016, Wickenkamp moved for extension of time within which to file her

contemplated third amended complaint from March 1 to March 7, 2016; on March 7, 2016 (as

noted above), before the comt ruled on her motion for extension of time, she filed her third

amended complaint, reducing the number of claims alleged to two, abandoning her claims to the

extent alleged against the Suarezes and ABM, and adding Scott and ALG as new defendants. On

April 5, 2016, these chambers granted Wickenkamp's motion for extension of time nunc pro tune

and deemed her third amended complaint timely filed as of March 7, 2016.

       As noted above, Wickenkamp's third amended complaint contains no indication of the

amount in controversy. Moreover, it is not possible from Wickenkamp's allegations in support of

her claims to asce1tain whether the amount in controversy is likely to be above or below the


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$75,000 jurisdictional minimum for the exercise of diversity jurisdiction.

        Also on April 5, 2016, summons issued as to defendants Angeli, Souede, ALG, the

Hamptons, the Hostetters, HK, and HLG. In the absence of any extension thereof, the thirty-day

period granted to Wickenkamp for effecting service of process on previously unserved

defendants closed on April 6, 2016. Wickenkamp attempted to serve Angeli and Knapp with

process on April 19, 2016, attempted to serve Sali with process on April 22, 2016, and attempted

to serve Rahn with process on April 26, 2016; each of those eff01is met with apparent success.

Wickenkamp additionally attempted to serve Scott with process on April 20, 2016, and attempted

to serve Bruce and Vanese with process on May 3, 2016, patently unsuccessfully.

       On April 8, 2016, after the time granted to Wickenkamp to effect service of process on all

unserved defendants had passed, Zachary and HLG filed their motion (#59) to dismiss

Wickenkamp's claims. Angeli and Sali filed their motion (#60) to dismiss on April 11, 2016. On

April 19, 2016, Wickenkamp moved for extension of her deadline for responding to the two

pending dispositive motions, and on April 20, 2016, these chambers granted Wickenkamp's

motions for extension of time, directing her to file her responses by May 9, 2016. On May 9,

2016, rather than file responsive briefing, Wickenkamp moved the cou1i for further extension of

the time for filing her responses to the pending dismissal motions to May 11, 2016 (inaccurately

characterizing her motion as unopposed). On May 10, 2016, the court granted Wickenkamp's

motion for further extension of the deadline, directing Wickenkamp to file her responsive

briefing by not later than May 11, 2016, and expressly advising the parties that "[n]o fmther

extensions to the dismissal motions briefing schedule w[ ould] be allowed." On May 11, 2016,

rather than file responsive briefing, Wickenkamp moved the court for yet further extension of the


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time for filing her response to the pending dismissal motions to May 16, 2016. Notwithstanding

the court's advice to the parties that the briefing schedule would not be further extended, the

court granted the motion in part and extended the responsive briefing deadline to May 13, 2016,

emphasizing that "[p]laintiffs responses to all dismissal motions must be filed no later than

5/13/2016" (emphasis original) and expressly reiterating that "[t]he court w[ould] not ente1tain

any fuither extension requests or late submissions." Wickenkamp did not file responsive briefing

by May 13, 2016, as ordered by the court, but rather delayed until May 19 and 22, 2016, before

filing such briefing, moving (#99, 112) that her responsive briefing be deemed timely filed nunc

pro tune. On May 25, 2016, I denied Wickenkamp's motion to deem her responsive briefing

timely filed. Notwithstanding my order denying Wickenkamp's motions that her responsive

briefing be deemed timely filed, on May 27, 2016, the moving defendants filed reply memoranda

in further suppo1t of their respective pending dispositive motions.

       On July 14, 2016, following sua sponte reconsideration of my order of May 25, 2016,

order denying Wickenkamp's motion that her responsive briefing be deemed timely filed, I

reversed that order and construed Wickenkamp's responsive briefing as timely. In consequence,

the court may properly, and should, consider the arguments set forth in Wickenkamp's opposition

memorandum (#105) of May 19, 2016, and opposition memorandum (#113) of May 22, 2016,

the evidence offered by Wickenkamp in connection with those memoranda, and the moving

defendants' reply memoranda (#125, 126) of May 27, 2016.

                                           ANALYSIS

       As noted above, both sets of moving defendants - that is, both Zachaiy and HLG

(collectively, the "moving HLG defendants") and Angeli and Sali (collectively, the "moving


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ALG defendants") - argue that Wickenkamp's claims should be dismissed pursuant to Federal

Civil Procedure Rule l 2(b)( 1) on jurisdictional grounds, in the alternative that her claims should

be specially stricken pursuant to Or. Rev. Stat. § 31.150, and in the further alternative that her

claims should be dismissed in their entirety or in part on their merits pursuant to Federal Civil

Procedure Rule 12(b)(6). I address first the jurisdictional arguments, then the special motions to

strike, and finally the merits arguments.

I.      Jurisdiction

        A.     Federal Subject-Matter Jurisdiction

        As noted above, the federal courts are courts of limited jurisdiction, and district courts are

accordingly required to presume that asserted causes of action fall outside the scope of federal

subject-matter jurisdiction unless and until the patty asse1ting federal jurisdiction satisfies the

burden to establish that the exercise of federal jurisdiction would be proper. See Kokkonen, 511

U.S. at 377. Here, Wickenkamp asse1is only causes of action arising under Oregon common law,

and there is no colorable argument that this comt could appropriately assert federal-question

jurisdiction over her asserted claims pursuant to 28 U.S.C. § 1331. Moreover, at this pretrial

stage of these proceedings it would be patently inappropriate to assert supplemental jurisdiction

over Wickenkamp's cu!1'ent claims following her abandonment of her previously pied federal

claims. See 28 U.S.C. § 1367(c)(3) ("[t]he district comts may decline to exercise supplemental

jurisdiction over a [state-law] claim ... if ... the district comt has dismissed all claims over

which it has original jurisdiction"); Carnegie- lvfellon Univ. v Cohill, 484 U.S. 343, 350 n.7

(1988) ("in the usual case in which all federal-law claims are eliminated before trial, the balance

of the factors to be considered under the pendent jurisdiction doctrine--judicial economy,


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convenience, fairness, and comity--will point toward declining to exercise jurisdiction over the

remaining state-law claims"). Under the applicable circumstances, therefore, this court may only

properly exercise subject-matter jurisdiction over Wickenkamp's claims to the extent she has met

her burden to establish that the requirements for the exercise of diversity jurisdiction have been

satisfied.

        The requirements for the exercise of diversity jurisdiction are codified at 28 U.S.C. §

1332(a), which provides in relevant part as follows:

        The district courts shall have original jurisdiction of all civil actions where the
        matter in controversy exceeds the sum or value of$75,000, exclusive of interest
        and costs, and is between-

                (1)     citizens of different States;

                ***
28 U.S.C. § 1332(a). "Diversity is generally detennined from the face of the complaint." Gould

v. iVlut. Life Ins. Co. ofNY., 790 F.2d 769, 773 (9th Cir.). It is the burden of the party asserting

diversity jurisdiction to establish that its prerequisites have been met. The moving HLG

defendants expressly challenge the adequacy ofWickenkamp's allegations to establish the

prerequisites of diversity jurisdiction.

        Here, as noted above, the amount in controversy cannot be determined from the face of

Wickenkamp's complaint, nor is there any fair inference from any of Wickenkamp's allegations

that she could have been damaged by any or all of the complained-of conduct in an amount

exceeding $75,000. As the HLG defendants' motion qua motion to dismiss for lack of subject-

matter jurisdiction raises a strictly facial jurisdictional challenge, the court may not look beyond

Wickenkamp's complaint for purposes of determining the merits of the motion.· In light of


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Wickenkamp's undisputed failure to allege one of the essential prerequisites of diversity

jurisdiction, it follows that this court may not properly exercise diversity jurisdiction over

Wickenkamp's claims on the basis of her current operative pleading.

        Notwithstanding the foregoing, I note that, as a general rnle, to justify dismissal for lack

of diversity jurisdiction "it must appear to a legal certainty that the claim is really for less than the

jurisdictional amount." St. Paul 1vfercury Jnde111. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938).

At this stage and on the cu!Tent record, I do not find "to a legal ce1iainty" that Wickenkamp's

potential damages could not exceed the jurisdictional minimum. Wickenkamp offers her

declaration testimony that "it is [her] intention to seek at least $3,000,000 in damages for the

haim caused by" defendants' complained-of conduct, Declaration (# 104) of Mmy Wickenkamp

("Wickenkamp Deel."), iJ 13, suggesting that the deficiency in her jurisdictional allegations could

be cured by amendment. Without more, Wickenkamp's failure to allege an amount in

controversy in excess of the jurisdictional threshold would therefore not ordinarily be sufficient

to justify dismissal of her claims without first giving her a fourth opportunity to amend her

pleading. See St. Paul i'vfercury, 303 U.S. at 289.

       As noted above, however, on Janumy 31, 2016, Judge Hernandez ordered that

Wickenkamp amend her pleading in a manner compliant with "Rule 8 and all other applicable

pleading requirements within thirty days" and expressly advised her that "should she fail to

comply with Rule 8 or other applicable pleading requirements in drafting her third amended

complaint, any claims alleged in a noncompliant manner w[ ould] be subject to dismissal with

prejudice." Order (#45) at 2, 2-3. Federal Civil Procedure Rule 8(a) provides as follows:

       A pleading that states a claim for relief must contain:


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                (1)    a short and plain statement of the grounds for the court's
                       jurisdiction, unless the court already has jurisdiction and the
                       claim needs no new jurisdictional support;

                (2)     a short and plain statement of the claim showing that the pleader is
                        entitled to relief; and

                (3)    a demand for the relief sought, which may include relief in the
                       alternative or different types of relief.

Fed. R. Civ. P. 8(a) (emphasis supplied).2 Wickenkamp's failure to plead an amount in

controversy in excess of$75,000 thus constitutes not merely a barrier to the proper exercise of

subject-matter jurisdiction but in addition a violation of Judge Hernandez' order of Janumy 31,

2016. Wickenkamp's failure to comply with Judge Hernandez' order serves as an independent

and sufficient ground for denying Wickenkamp an opportunity to further amend her pleading.

        In dete1mining whether to dismiss a claim for ... failure to comply with a court
        order, the Court must weigh the following factors: (I) the public's interest in
        expeditious resolution of litigation; (2) the court's need to manage its docket;
        (3) the risk of prejudice to defendants/respondents; (4) the availability of less
        drastic alternatives; and (5) the public policy favoring disposition of cases on their
        merits.

Pagtalunan v. Galaza, 291 F.3d 639, 642 (9th Cir. 2002), citing Ferdik v. Bonzelet, 963 F.2d



        2
           Wickenkamp was on express notice of the fact that her claims required "new
jurisdictional support" at the time she filed her third amended complaint. As I noted in my
Findings and Recommendation (#41) dated December 3, 2015, by and through her second
amended complaint, Wickenkamp asserted that this court could properly exercise diversity
jurisdiction over her claims, but that asse1iion of jurisdiction failed in part due to Wickenkamp's
failure to "asse1i a right to any specified amount of monetmy damages" in support. Findings and
Recommendation (#41) at 5, n. 4. Although I found that the court could properly exercise
federal-question jurisdiction over the federal claims and supplemental jurisdiction over the state-
law claims alleged by and through Wickenkamp's second amended complaint, that basis for the
exercise of jurisdiction was patently lost when Wickenkamp filed a third amended complaint that
stated no federal claims. Wickenkamp was thus on express notice that an asse1iion of diversity
jurisdiction over the claims set forth in her third amended complaint would be deficient if
unsupported by an allegation of an amount in controversy.

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1258, 1260-1261 (9th Cir. 1992). 3 I discuss the application of each of those five factors in turn.

           "The public's interest in expeditious resolution of litigation always favors dismissal."

Yourish v. California Amplifier, 191F.3d983, 990 (9th Cir. 1990). This action was filed over a

year ago, and in that time has been marked by numerous unexplained delays in Wickenkamp's

efforts to prosecute her claims, and by total failure to progress past the pleading stage of

litigation. The first factor therefore weighs clearly in favor of dismissal. See Pagtalunan, 291

F.3d at 642.

        The second factor, concerning the court's need to manage its docket, likewise clearly

favors dismissal. "It is incumbent upon the Court to manage its docket without being subject to

routine noncompliance oflitigants such as [Wickenkamp]," whose methods of litigation in these

proceedings - setting entirely aside her methods employed both in other recent litigation matters

before this court and before courts of other federal jurisdictions - including routine unexplained

delays and failures to comply with court-ordered deadlines, have caused this action to consume a

significantly disproportionate share of this comi's judicial resources. Id., citing Ferdik, 963 F.2d

at 1261.

        As to the third enumerated factor, "[t]o prove prejudice, a defendant must establish that

plaintiff's actions impaired defendant's ability to proceed to trial or threatened to interfere with

the rightful decision of the case." Id., citing !Via/one v. United States Postal Serv., 833 F.2d 128,



       3
          In addition, "before dismissing a prose complaint the district court must provide the
litigant with notice of the deficiencies in h[er] complaint in order to ensure that the litigant uses
the oppo1iunity to amend effectively." Ferdik, 963 F.2d at 1261. Here, as repeatedly discussed
in the course of this Findings and Recommendation, the cou1i provided Wickenkamp with
express notice of the need to conect the deficiencies in her jurisdictional allegations prior to the
date she filed her third amended complaint. ·

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131 (9th Cir. 1987). However, "[w]hether prejudice is sufficient to support an order of dismissal

is in part judged with reference to the strength of the plaintiff's excuse for the default." lvfalone,

833 F.2d at 131, citing Nealey v. Transportacion }vfaritima }vfexicana, S.A., 662 F.2d 1275, 1280

(9th Cir. 1980); see also Yourish, 191 F.3d at 991-992 (where a plaintiff's violation of a court

order is without reasonable justification, even extremely minor prejudice to a defendant

stemming from delay of litigation can be sufficient to "strongly support dismissal"). As noted

above, Wickenkamp was on express notice of the need for "new jurisdictional support" in

connection with the claims asserted by and through her third amended complaint and on express

notice of the need to allege an amount in controversy in excess of the jurisdictional threshold in

order to support an assertion of diversity jurisdiction. Wickenkamp offers no grounds tending to

excuse or explain her failures to suppmt her assertion of jurisdiction with such an allegation and

to comply with Judge Hernandez' order. In light of the entirely groundless nature of

Wickenkamp's failure to comply with Judge Hernandez' order, the prejudice to defendants

stemming from her failure to provide defendants with a sh01t and plain statement of her claims

and jurisdictional basis following repeated amendments of her pleading and from her many and

various umeasonable delays in meeting court-ordered deadlines is sufficient to support the

conclusion that the third factor likewise mitigates in favor of dismissal. See Yourish, 191 F.3d at

991-992; Pagtalunan, 291 F.3d at 642~643; lvfalone, 833 F.2d at 131.

       As to the fourth factor, in determining whether less drastic measures than dismissal are

available, the district courts are called upon to consider whether sanctions more lenient than

dismissal would be adequate under the circumstances to correct the party's noncompliance, and

ordinarily must both attempt the imposition of lesser sanctions and warn the plaintiff of the


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possibility that futiher noncompliance will result in dismissal before implementing the ultimate

sanction. See }vfalone, 833 F.2d at 132. Here, Wickenkamp's noncompliance with court orders

has been routine over the course of these proceedings, and even repeated warnings have not

proven adequate to prevent futiher similar noncompliance. See, e.g., Docket No. 124 (detailing a

limited subset ofWickenkamp's repeated and compounded failures to comply with court-ordered

deadlines, including where she herself requested such deadlines); Docket Nos. 57, 90, 92 (each

identifying Wickenkamp's repeated failure to comply with the requirements of Local Rule 10-2,

setting forth the requirements for compliance with Local Rule 10-2 with particularity, and

directing future compliance therewith). This comi has also previously dismissed Wickenkamp's

claims without prejudice for failure to comply with Rule 8(a), see Opinion and Order (#45),

expressly noting that an asse1iion of diversity jurisdiction is deficient if not supported by an

allegation of an amount in controversy in excess of $75,000, see Findings and Recommendation

(#41 ), only to be presented with a noncompliant amended pleading repeating the same

jurisdictional deficiency. Wickenkamp's historical litigation practices strongly suggest that no

sanction short of dismissal is likely to prevent further noncompliance with court orders. In

addition, as discussed above, Wickenkamp was on express notice both of the need for an

allegation of an amount in controversy to suppoti her asse1iion of diversity jurisdiction at the

time she filed her third amended complaint and of the fact that failure to comply with the

pleading requirements of Rule 8(a) would result in dismissal with prejudice. Under all of the

foredescribed circumstances, the fourth factor suppo1is imposition of the dismissal sanction.

       As to the fifth enumerated factor, "[p]ublic policy favors disposition of cases on the

merits." Pagtalunan, 291 F.3d at 643. The fifth factor always mitigates against dismissal. See


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id

        Three of the five factors (the public interest in expeditious litigation, docket management,

and risk of prejudice) strongly favor imposition of the dismissal sanction, one factor (the

availability of less drastic measures) weighs less strongly in favor of dismissal, and only one

factor (public policy in favor of merits-based disposition) weighs (strongly) against dismissal.

Weighing the factors, it is appropriate here to deny Wickenkamp the opp01tunity to yet further

amend her pleading, to grant the moving HLG defendants' motion to the extent premised on.lack

of subject-matter jurisdiction, and to dismiss her action in its entirety with prejudice for lack of

subject-matter jurisdiction and for failure to comply with Judge Hernandez' order of January 31,

2016. Such disposition would not prejudice Wickenkamp's ability to proceed with her invasion

of privacy claims in an appropriate state court.

       B.      Personal Jurisdiction

       While I recommend dismissal for lack of subject-matter jurisdiction, I nevertheless

consider, in the alternative, whether this court may properly exercise personal jurisdiction over

any defendant other than Zachary, HK, or HLG (which defendants have not challenged the

adequacy of the service returned executed as to them on April 30, 2015). This inquiry will

dovetail with the court's analysis of the jurisdictional argument proffered by the moving ALG

defendants, namely that this court may not properly exercise personal jurisdiction over Angeli

and Sali due to inadequate service of process.

       The personal jurisdictional inquhy at issue here begins with the proposition that:

       A federal court does not have jurisdiction over a defendant unless the defendant
       has been served properly under Fed. R. Civ. P. 4. Jackson v. Hayakawa, 682 F.2d
       1344, 1347 (9th Cir. 1982). However, "Rule 4 is a flexible rule that should be
       liberally construed so long as a party receives sufficient notice of the complaint."

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        United Food & Commercial Workers Union v. Alpha Beta Co., 736 F.2d 1371,
        1382 (9th Cir. 1984). Nonetheless, without substantial compliance with Rule 4
        "neither actual notice nor simply naming the defendant in the complaint will
        provide personal jurisdiction." Benny v. Pipes, 799 F.2d 489, 492 (9th Cir. 1986),
        cert. denied, 484 U.S. 870, 108 S. Ct. 198, 98 L. Ed. 2d 149 (1987).

Direct 1vfail Specialists, Inc. v. Ee/at Computerized Technologies, Inc., 840 F.2d 685, 688 (9th

Cir. 1988).

        As noted above, Wickenkamp initiated this action on February 19, 2015. Under Federal

Civil Procedure Rule 4(m) as then codified, Wickenkamp was required to effect service of

process on the defendants named in her complaint within 120 days. See Fed. R. Civ. P. 4,

Committee Notes on Rules-2015 Amendment. By and through her complaint as originally

filed, Wickenkamp named as defendants the Hostetters, HLG, HK, Bruce, Vanese, Sali, and

Angeli. Wickenkamp amended her complaint April 10, 2015, adding as new defendants Knapp,

Souede, the Suarezes, and ABM. Service was returned executed as to Zachary, HK, and HLG

(only) on April 30, 2016, the time for effecting service of process on Rahn, Bruce, Vanese, Sali,

and Angeli closed on J1me 19, 2015, and the time for effecting service of process on Knapp,

Souede, and the Suarezes closed on August 8, 2015. There is no indication anywhere in the

record that Wickenkamp made any attempt to effect service of process on any of those

defendants within the prescribed time period. However, it appears that Wickenkamp made an

initial effort to serve Angeli, Sali, and perhaps other defendants in September 2015, after the

120-day period for doing so had closed; service of process was not returned executed in

connection with those effo1is.

       On December 3, 2015, I issued a Findings and Recommendation by and through which

(inter alia) I noted that only Zachaiy, HK, and HLG appeared at that time to have been served,


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recommended that all of Wickenkamp's claims be dismissed, recommended that the court direct

Wickenkamp to amend her pleading within 30 days, recommended that the court direct

Wickenkamp to serve all previously unserved defendants within 30 days of filing her amended

complaint, and recommended that Wickenkamp be advised that failure so to serve the then-

unserved defendants would result in the dismissal of her claims with prejudice to the extent

alleged against any such unserved defendants. Judge Hernandez adopted those recommendations

without modification on Janumy 31, 2016.

       Wickenkamp filed her third amended complaint on Mm·ch 7, 2016, six days following the

several-times extended court-ordered deadline for doing so. Her third amended complaint named

as defendants the Hamptons, the Hostetters, Knapp, HK, HLG, and the ALG defendants.

       On April 5, 2016, I issued an order deeming Wickenkamp's third amended complaint

timely filed. That same day, Wickenkamp requested that summons issue as to all defendants

named in the third amended complaint. On April 6, 2016, the date thirty days following the date

Wickenkamp filed her third amended complaint, Wickenkamp moved the comt for extension of

time to serve the unserved defendants. Also on April 6, 2016, I denied the motion on grounds of

procedural defects, with leave to refile. Wickenkamp did not refile the motion.

       On April 14, 2016, Wickenkamp requested that the Wallowa County Sheriff's Office

effect service of process on all of the named defendants. Service was returned executed as to

Angeli and Knapp on April 14, 2016, as to Sali on April 22, 2016, and as to Rahn on April 26,

2016. Service was returned unexecuted as to Scott on April 20, 2016, and as to Bruce and

Vanese on May 3, 2016.




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               1.      Personal Jurisdiction Over Defendants Souede and ALG

        It appears clear that Wickenkamp has never made any effort to serve Souede or ALG with

process in this action. It appears equally clear that any future effort to serve those defendants will

necessarily be untimely, both by reference to the statutory time limit for effecting service of

process and by reference to the court's order directing that service of process be effected by a

time ce1iain, however liberally that order may be construed. See Fed. R. Civ. P. 4(m). Moreover,

Wickenkamp's failure to serve these defendants is a clear violation of Judge Hernandez' order of

Januaiy 31, 2016, by and through which Wickenkamp was placed on express notice that failure

to effect service on unserved defendants within the prescribed time would result in dismissal of

her claims with prejudice to the extent alleged against unserved defendants. Because the court

may not properly exercise personal jurisdiction over Souede or ALG, and because no grounds

exist for affording Wickenkamp any fu1ther oppotiunity to effect service over those defendants,

Wickenkamp's claims should be dismissed with prejudice to the extent alleged against Souede

and ALG, and those defendants should be dismissed from this action.

               2.      Personal Jurisdiction Over Defendants Angeli and Sali

        As noted above, Wickenkamp made effotis to serve Angeli and Sali with process in

September 2015 and again in April 2016. I discuss the adequacy of both effotis in turn.

                       a.      Service Efforts of September 2015

       The moving ALG defendants offer evidence that Wickenkamp attempted to effect service

on them in September 2015 by mailing copies of the summons, complaint, and first amended

complaint (but not the second amended complaint, which was at that time Wickenkamp's

operative complaint) via ce1iified mail to their offices, and that her mailings were received and


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signed for by persons not authorized to receive service of process for either Angeli or Sali.

Return of service was never returned executed in connection with the service effo11s of

September 2015. It is the moving ALG defendants' argument that Wickenkamp's service efforts

of September 2015 were inadequate to provide any basis for this com1 to exercise personal

jurisdiction over them. Wickenkamp does not oppose that argument, with which I concur.

        Assuming arguendo that Wickenkamp's service eff011s could reasonably be deemed

substantially compliant with the manner of service requirements of Federal Civil Procedure Rule

4(e ), no provision of Rule 4 suggests that any amount of substantial compliance with the manner

of service requirements of the rule can excuse a plaintiffs failure to comply strictly with the time

limit for service imposed by Rule 4(m), which provides in relevant part that:

        If a defendant is not served within [the prescribed time limit, here 120 days] after
        the complaint is filed, the court---on motion or on its own after notice to the
        plaintiff-must dismiss the action without prejudice against that defendant or
        order that service be made within a specified time. But ifthe plaintiff shows good
        cause for the failure, the comt must extend the time for service for an appropriate
        period.

Fed. R. Civ. P. 4(m). As the September 2015 eff011s were plainly outside the prescribed 120-day

period, that period was not extended by order of the com1, and no good cause has been offered to

explain the untimeliness of Wickenkamp's effo11s, this court may not exercise personal

jurisdiction over either Angeli or Sali on the basis of those effo11s.

                       b.      Service Efforts of April 2016

        Service was returned executed as to Angeli on April 19, 2016 (indicating that office

service was employed), and as to Sali on April 22, 2016 (indicating that personal service was

employed). The moving ALG defendants have not filed any challenge to the adequacy of those

se1vice effo11s, which had not yet occmTed at the time they filed their pending motion. The only

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question properly before the court at this time as to those service efforts is whether they should

be constrned as timely.

          The argument that the service eff01is of April 2016 were untimely is colorable. This

cmni directed Wickenkamp in ce1iain tenns to effect service of process on all unserved

defendants within thirty days following the date she filed her third amended complaint, placing

her on express notice that her failure to do so would result in dismissal of her claims with

prejudice to the extent alleged against unserved defendants. While that order plainly re-opened

the time within which Wickenkamp could timely effect service, Wickenkamp did not comply

with its unambiguous directive, instead requesting that summons issue on the 29th day of the 30-

day period following March 7, 2016, the date the third amended complaint was filed, and not

attempting to serve any defendant until approximately two to three weeks after the 30-day period

closed.

          However, I note that the cou1i did not expressly deem the third amended complaint timely

filed until April 5, 2016. That same day, Wickenkamp requested that summons issue, and she

sought to serve Angeli, Sali, Knapp, Rahn, and the Hamptons within thirty days thereafter. In

light of the unce1iainty that may reasonably be attributed to Wickenkamp prior to April 5, 2016,

as to whether the court would accept her third amended complaint as timely filed, I recommend

that the comi construe the court-ordered 30-day period for service of process to have begun on

April 5, 2016, rather than on March 7, 2016. Under that constrnction, the service effo1is of April

2016 were timely. In consequence, the cou1i should deem Angeli and Sali timely served with

process, and the moving ALG defendants' motion should be denied to the extent premised on

lack of personal jurisdiction.


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               3.      Personal Jurisdiction Over Defendants Knapp and Rahn

        For the same reasons discussed above in connection with Wickenkamp's April 2016

efforts to serve Angeli and Sali, the court should deem Knapp and Rahn timely served. It follows

that the court may properly exercise personal jurisdiction over those defendants.

               4.      Personal Jurisdiction Over Defendants the Hamptons

       For the same reasons discussed above in connection with Wickenkamp's April 2016

efforts to serve Angeli and Sali, the court should deem timely Wickenkamp's unsuccessful eff011s

of April and May 2016 to serve the Hamptons. However, because those effo11s were patently

unsuccessful, at this time the court may not properly exercise personal jurisdiction over any of

the Hamptons. Neve11heless, because Wickenkamp made a timely good-faith effo1t to effect

service on the Hamptons, and because service on the Hamptons is the subject of motions filed by

Wickenkamp that have not yet come before the court, I recommend that the court defer the

question whether Wickenkamp's claims are subject to dismissal to the extent alleged against the

Hamptons for lack of personal jurisdiction until such time as those motions are fully briefed and

properly before the cout1.

II.    Special JVIotions to Strike

       While I recommend dismissal for lack of subject-matter jurisdiction, I nevertheless

consider, in the alternative, the merits of the moving defendants' motions qua special motions to

strike. The moving HLG defendants move pursuant to Oregon's anti-SLAPP statut01y scheme to

strike both of Wickenkamp's two claims, whereas the moving ALG defendants move to strike

only Wickenkamp's false light claim. I discuss the merits of both motions, together.

       Oregon's Anti-SLAPP statute specifically provides as follows:


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     (1)   A defendant may make a special motion to strike against a claim in a civil
           action described in subsection (2) of this section. The court shall grant
           the motion unless the plaintiff establishes in the manner provided by
           subsection (3) of this section that there is a probability that the
           plaintiff will prevail on the claim. The special motion to strike shall be
           treated as a motion to dismiss under ORCP 21 A but shall not be subject to
           ORCP 21 F. Upon granting the special motion to strike, the court shall
           enter a judgment of dismissal without prejudice. If the cou1t denies a
           special motion to strike, the comt shall enter a limited judgment denying
           the motion.

     (2)   A special motion to strike may be made under this section against any
           claim in a civil action that arises out of:

           (a)    Any oral statement made, or written statement or other
                  document submitted, in a legislative, executive or judicial
                  proceeding or other proceeding authorized by law;

           (b)    Any oral statement made, or written statement or other document
                  submitted, in connection with an issue under consideration or
                  review by a legislative, executive or judicial body or other
                  proceeding authorized by law;

           (c)    Any oral statement made, or written statement or other document
                  presented, in a place open to the public or a public forum in
                  connection with an issue of public interest; or

           (d)    Any other conduct in fi.ntherance of the exercise of the
                  constitutional right of petition or the constitutional right of free
                  speech in connection with a public issue or an issue of public
                  interest.

     (3)   A defendant making a special motion to strike under the provisions of
           this section has the initial burden of making a prima facie showing
           that the claim against which the motion is made arises out of a
           statement, document or conduct described in subsection (2) of this
           section. If the defendant meets this burden, the burden shifts to the
           plaintiff in the action to establish that there is a probability that the
           plaintiff will prevail on the claim by presenting substantial evidence to
           support a prima facie case. If the plaintiff meets this burden, the comt
           shall deny the motion.

     (4)   In making a determination under subsection (1) of this section, the


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                court shall consider pleadings and supporting and opposing affidavits
                stating the facts upon which the liability or defense is based.

        (5)    If the court dete1mines that the plaintiff has established a probability that
               the plaintiff will prevail on the claim:

                (a)    The fact that the determination has been made and the substance of
                       the determination may not be admitted in evidence at any later'
                       stage of the case; and

               (b)     The determination does not affect the burden of proof or standard
                       of proof that is applied in the proceeding.

Or. Rev. Stat. 31.150 (emphasis supplied). 4

        Notwithstanding the foregoing, to the extent that Oregon's anti-SLAPP statute provides

for an automatic stay of discove1y when a special motion to strike is filed, because that provision

would conflict with the Supreme Cami's interpretation of Federal Civil Procedure Rule 56(f) as

requiring discove1y to proceed "where the nonmoving paiiy has not had the oppo1iunity to

discover inf01mation that is essential to its opposition," Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 250 n.5 (1986), such automatic stay of discove1y is necessarily inapplicable in federal

co1ui where discove1y would be necessaiy for the plaintiff adequately to litigate a special motion

to strike. See 1\fetabolife Int'/ v. Warnick, 264 F.3d 832, 846-847 (9th Cir. 2001).

       A.      The Moving Defendants' Burden at the First Step of the Two-Step Anti-
               SLAPP Process

       Both sets of moving defendants move to strike Wickenkamp's false light claim, whereas

only the moving HLG defendants move to strike Wickenkamp's intrusion upon seclusion claim.



       4
          Oregon Civil Procedure Rule 21 A provides a procedural mechanism for motions to
dismiss, see Or. R. Civ. P. 21 A, while Oregon Civil Procedure Rule 21 F (which is expressly not
applicable to motions brought under Section 31.150, see Or. Rev. Stat. 31.150(1 )) permits
motions to dismiss to be consolidated with other motions, see Or. R. Civ. P. 21 F.

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Accordingly, both sets of moving defendants bear the burden to establish that the false light

claim falls within the scope of one of the provisions of Section 31.150(2), while it is only the

moving HLG defendants who bear that burden as to the intrusion upon seclusion claim.

        As to the false light claim, the moving defendants satisfy their burden by reference to the

allegations ofWickenkamp's third amended complaint. Wickenkamp alleges that the false light

claim arises directly and solely out of allegations filed with a court in connection with a judicial

proceeding, namely Hampton I. As such, the false light claim is clearly and necessarily within

the scope of Section 3 l .150(2)(a) as a "written statement or other document submitted[] in a ...

judicial proceeding." Or. Rev. Stat.§ 31.150(2)(a). The court should therefore find that the

burden shifts to Wickenkamp to establish a probability of her success on the merits as to the false

light claim.

       As to the intrusion upon seclusion claim, the moving HLG defendants argue that the

claim comes within the anti-SLAPP statute on the basis ofWickenkamp's allegation that the

Hamptons disseminated information gleaned from conversations they intercepted and recorded

between Lloyd Trackwell and Wickenkamp to Zachary, Rahn, Knapp, HK, and HLG "for use in

court matters.... " Third Amended Complaint,     ~   13. Even assuming arguendo that the

disseminated information was in fact used in a court matter - a fact not expressly alleged - I

disagree with the moving HLG defendants that the claim "arises" out of such use. The

complained-of conduct alleged to constitute an intrusion upon Wickenkamp's seclusion is the

interception and recording of private conversations, and it is out of that conduct that the claim

arises. As such, the moving HLG defendants have not met their burden at the first step of the

two-step process in connection with the intrusion upon seclusion claim, and the court should


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therefore find that the anti-SLAPP inquiry ends as to that claim without need for Wickenkamp to

establish a probability of success on its merits.

        B.       Wickenkamp's Burden at the Second Step of the Two-Step Anti-SLAPP
                 Process

        As noted above, Wickenkamp should be deemed to bear the burden to establish a

probability of success on the merits as to her false light claim, but not to bear any such burden

under Section 31.150 as to her intrusion upon seclusion claim. The Oregon courts have

mticulated the elements of the tort of false light as follows:

        One who gives publicity to a matter conceming another that places the other
        before the public in a false light is subject to liability to the other for invasion of
        his privacy, if

        (a) the false light in which the other was placed would be highly offensive to a
        reasonable person, and

        (b) the actor has knowledge of or acted in reckless disregard as to the falsity of the
        publi[ci]zed matter and the false light in which the other would be placed.

Dean v. Guard Pub. Co., 73 Or. App. 656, 659 (1985), quoting Restatement (Second) To1ts §

652E. The moving defendants argue that Wickenkamp cannot meet her burden to establish a

probability of success on the merits of her false light claim because that claim is clearly time-

baned and because they enjoyed an absolute litigation privilege against being subjected to suit in

connection with the statements underlying the claim. For the reasons that follow, I disagree with

the moving defendants that the claim is time-baned, but agree that Wickenkmnp cannot establish

the liability of any of the moving defendants for false light due to the absolute litigation

privilege, and for that reason cannot meet her burden at the second step of the two-step process

as to the false light claim.

        It is not well settled whether the limitations period applicable to a claim of false light

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under Oregon connnon law is one year or two years. Or. Rev. Stat. 12.120 provides that "[a]n

action for libel or slander shall be connnenced within one year," Or. Rev. Stat. 12.120(2),

whereas the "catch-all" limitations provision under Oregon law, 12.110(1 ), provides that "[ a]n

action for ... any injury to the person or rights of another, not arising on contract, and not

especially enumerated in this chapter, shall be commenced within two years," Or. Rev. Stat.

12.110(1 ). The Oregon Court of Appeals has noted that the tort of false light finds its origins as

an extension of defamation law, but also that false light is neve1iheless distinct from defamation,

such that there could be colorable arguments for either the one-year or the two-year limitations

periods. See ivfagenis v. Fisher Broadcasting, Inc., 103 Or. App. 555, 557-560 (1990). The

1\1agenis court concluded, following review of the cases addressing the issue (including Oregon

Supreme CoUli cases), "that, when a claim characterized as false light alleges facts that also

constitute a claim for defamation, the claim must be filed within the period for bringing a

defamation claim." Id. at 560. The };fagenis COUli's discussion of the question makes clear that

"where the alleged false light ... is plainly defamatory," the underlying facts could give rise to a

defamation claim. See id. Here, the alleged false light at issue (namely, that Wickenkamp

conspired to connnit various illegal acts) is plainly defamatmy. As such, under the well-

considered reasoning of the }vfagenis coUli the one-year statute of limitations should be applied. I

recommend that the court find that the Oregon Supreme Comt would so rule.

       Neve1iheless, I do not find that the false light claim is time-bmTed as a matter oflaw.

First, Wickenkamp is entitled to relation back of her false light claim, filed March 7, 2016, to

February 19, 2015, the date she initiated these proceedings. Although Wickenkamp did not

allege the liability of any defendant for false light by and through her complaint as originally


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filed, she expressly alleged both that Hampton I had been wrongfully initiated and that the

Hampton I plaintiffs alleged in those proceedings that Wickenkamp "had engaged in unlawful

activity when there existed no genuine factual basis for such [allegation]s." Complaint, if 16(d).

These constitute sufficient grounds to require relation back. See Fed. R. Civ. P. 15(c) ("An

amendment to a pleading relates back to the date of the original pleading when ... the

amendment asserts a claim or defense that arose out of the conduct, transaction, or occurrence set

out--0r attempted to be set out-in the original pleading").

        Second, the false light claim arguably could not have accrued prior to October 28, 2014,

when Judge Aiken dismissed the Hampton I claims. As will be discussed in greater detail below,

to overcome the absolute litigation privilege, a tort plaintiff whose cfaims arise out of statements

made in the course of prior litigation proceedings must establish, inter alia, that those prior

proceedings terminated in the to1i plaintiff's favor. See ]vfantia v. Hanson, 190 Or. App. 412, 429

(2003). That element cannot be established until the prior proceedings have in fact te1minated.

To conclude that the limitations period applicable to the t01i plaintiff's claim could have begun to

run prior to termination of the proceedings out of which the claim arose would create the ve1y

real risk that a valid claim could become time-barred before there was any opp01iunity to bring it.

For that reason, I recommend that the court find the false light claim timely filed as having

accrued on October 28, 2014, and as relating back to the filing of February 19, 2015, fewer than

four months later.

       As to the argument that the false light claim is ba1Ted by operation of the absolute

litigation privilege, I agree with the moving defendants. "Oregon comis have long recognized,

and enforced, an absolute privilege for statements in the course of or incident to judicial and


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quasi-judicial proceedings. That privilege applies equally to parties to such proceedings and to

their attorneys." }vfantia, 190 Or. App. at 417 (citations omitted). The controlling principles of

the absolute litigation privilege are as follows:

        An attorney at law is absolutely privileged to publish defamato1y matter
        concerning another in communications prelimina1y to a proposed judicial
        proceeding, or in the institution of, or during the course and as a part of, a judicial
        proceeding in which he participates as counsel, if it has some relation to the
        proceeding.

Id., quoting Restatement (Second) Torts § 586. 5 The policy concerns underlying the privilege

have been described as follows:

       The privilege stated in this Section is based upon a public policy of securing to
       attorneys as officers of the court the utmost freedom in their efforts to secure
       justice for their clients. Therefore the privilege is absolute. It protects the
       attorney from liability in an action for defamation inespective of his purpose in
       publishing the defamato1y matter, his belief in its truth, or even his knowledge of
       its falsity. These matters are of importance only in determining the amenability of
       the attorney to the disciplinaiy power of the court of which he is an officer. The
       publication of defamato1y matter by an attorney is protected not only when made
       in the institution of the proceedings or in the conduct of litigation before a judicial
       tribunal, but in conferences and other communications preliminaiy to the
       proceeding.

Id at 418, quoting Restatement (Second) Torts§ 586, cmt a. It is well established that the

litigation privilege, absent any exception, applies to bar a false light claim arising out of

statements made in preparation for or in the course of litigation. See Lee v. Nash, 65 Or. App.

538, 542 (1983).

       The Oregon courts recognize an exception to the absolute litigation privilege where the

litigant or attorney defendant's "conduct satisfies the elements of wrongful initiation." }vfantia,



       5
          The same privilege is applicable with equal force to the litigants represented by such
attorneys. See iVlantia, 190 Or App. at 418, n. 4.

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190 Or. App. at 429. That is, where the statements at issue were submitted in connection with

litigation that te1minated adversely to the pmty submitting the statements, the submitting patty's

claims against party seeking to overcome the privilege were without objectively reasonable basis

when they were filed, and the submitting patty's motivation for bringing those claims was other

than to secure their adjudication, the privilege will not bar a claim against the submitting patty.

See id

         It appears to be an open question of Oregon law whether the litigation privilege may be

asse1ted against a person not a patty to the prior litigation in the course of which the potentially

actionable statements were submitted. However, there appears to be no good policy ground for

limiting the applicability of the litigation privilege to claims brought by named patties to the

original litigation; so to limit the privilege would in many instances defeat its purpose in whole

or in pmt. I therefore recommend that the cou1t find the privilege applicable (absent any

exception) to Wickenkamp's false light claim.

         The court must therefore dete1mine whether Wickenkamp has met her burden to establish

a probability that she might overcome the absolute litigation privilege and, if so, whether she has

established a probability that a finder of fact could find any of the moving defendants liable on

the merits of the claim. It is undisputed that Hampton I terminated adversely to the Hampton I

plaintiffs, satisfying the first element of the wrongful-initiation exception to the litigation

privilege. As to whether the Hampton I plaintiffs or their counsel both lacked any objectively

reasonable basis for bringing the Hampton I claims and were subjectively motivated to file their

claims for reasons other than to secure their adjudication, Wickenkamp proffers in suppo1t of her

position that the Hampton I claims were both objectively baseless and motivated by malice


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approximately ninety minutes of audio-recorded conversation between Rahn and journalist

Edward Snook in June and/or July 2012, and her own testimony that at some unspecified point in

the approximately ninety minutes of recorded conversation, Rahn admitted that the purpose of

the Hampton I lawsuit "was to get Lloyd Trackwell to 'lay off" unspecified conduct apparently

objectionable to the Hamptons, Wickenkamp Deel., 'if 18(2).

       I have listened to the audio-recordings in their entirety. Over the course of the recordings,

Rahn repeatedly and consistently denies that the Hamptons had any improper motivation for

bringing their action against Lloyd Trackwell. On two occasions over the course of the

recordings, Rahn alludes to settlement discussions with Lloyd Trackwell in which the Hamptons

offered to "walk away" and Lloyd Trackwell refused the offer in insulting and offensive terms.

Neither of the two references to settlement discussions has any tendency to support the

conclusion that the Hamptons or their counsel believed their claims against Lloyd Trackwell to

be baseless or that the claims were motivated by malice against Lloyd Trackwell rather than by a

desire to achieve their adjudication: it is routine to conduct settlement negotiations in connection

with even highly meritorious claims, and the audio-recordings contain no indication of the nature

of the concession(s) requested by the Hamptons in exchange for voluntaiy withdrawal of their

claims that sparked Lloyd Trackwell's refusal of their offer. Nothing else in the audio recordings

has any tendency whatsoever to suggest that Rahn believed the Hampton I claims were without

objective or subjective merit. 6 Wickenkamp's proffered evidence is therefore inadequate to


       6
          By contrast, on at least two occasions in the course of the recordings, Snook advises
Rahn that he has written a "damning" ai1icle about Rahn and the Hamptons and threatens to
publish it unless Rahn causes the Hamptons to "unwind all their conuption," in which case he
would "bmy" it. In addition, Snook advises Rahn that "people" frequently "hire" Snook when
they have been "falsely accused," impliedly for the purpose of writing similarly "damning"

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establish that she has a probability of successfully overcoming the absolute litigation privilege.

       In the alternative to meeting her burden at the second step of the two-step anti-SLAPP

process, Wickenkamp asserts a need for discove1y before she can successfully attempt to meet

that burden. Specifically, Wickenkamp requests the opportunity to depose the Hostetters, the

Hamptons, Snook, and attorney Thomas Peachy regarding the subjective motivations of the

Hampton I plaintiffs and their counsel for filing the Hampton I proceedings. As noted above,

when a special motion to strike is filed pursuant to Oregon's anti-SLAPP statute in federal court,

notwithstanding the statutorily-provided automatic stay of discove1y, discove1y must be

permitted where it would be necessaiy for the plaintiff adequately to oppose the motion. See

i'vfetabolife, 264 F.3d at 846-847. Nevertheless, it would be inappropriate to defer proceedings in

connection with the moving defendants' special motions to strike in order to permit discove1y

here, because the identified discove1y could have no tendency to establish the objective

baselessness of the Hampton I claims at the time they were filed, a necessaiy element of the

wrongful-initiation exception. The objective baselessness of the claims can be determined only

on the basis of the claims themselves and of the allegations underlying them. Analysis of the

Hampton I claims and supporting allegations (and of their disposition) suggests that while they

may have lacked ultimate merit they were neither frivolous nor uncolorable when filed. For that

reason, I recommend that the court find that Wickenkamp cannot establish a probability of

successfully overcoming the litigation privilege. In consequence, the moving HLG defendants'



articles about their accusers. The clear implication of Snook's remarks is that he wrote the
referenced "damning" article at Lloyd Trackwell's behest, possibly for pay, for the purpose of
using it as leverage in the Hampton I litigation. Snook also advises Rahn that if Rahn were a
"Christian" expressing a desire to repent, he would "bu1y" his article.

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motion and the moving ALG defendants' motion should each be granted qua special motion to

strike as to Wickenkamp's false light claim, and that claim should be stricken from

Wickenkamp's complaint.

III.    Adequacy ofWickenkamp's Pleadings to State a Claim

        While I recommend dismissal for lack of subject-matter jurisdiction, I nevertheless

consider, in the alternative, the moving HLG defendants' argument that Wickenkamp's

allegations in support of her intrusion upon seclusion claim are inadequate to state a claim

against them. Also in the alternative to dismissal for lack of subject-matter jurisdiction and

additionally in the alternative to striking the false light claim, I consider the moving ALG

defendants' argument that Wickenkamp's allegations in support of her false light claim are

inadequate to state a claim.

       A.      The Moving HLG Defendants' Motion to Dismiss Wickenkamp's Intrusion
               Upon Seclusion Claim to the Extent Alleged Against Them for Failure to
               State a Claim

       As noted above, Wickenkamp alleges that the Hamptons intercepted and recorded her

telephone conversations with Lloyd Trackwell, and subsequently provided information gleaned

from those intercepted and recorded conversations to the moving HLG defendants and to Rahn,

Knapp, and HK. It is Wickenkamp's position that such conduct constituted tmiious intrusion

upon her seclusion.

       One who intentionally intrudes, physically or otherwise, upon the solitude or
       seclusion of another or his private affairs or concerns, is subject to liability to the
       other for invasion of his privacy, if the intrusion would be highly offensive to a
       reasonable person." Restatement (Second) ofT01is § 652B (1977). Accordingly,
       to establish a claim, a plaintiff must prove three elements: (1) an intentional
       intrusion, physical or otherwise, (2) upon the plaintiffs solitude or seclusion or
       private affairs or concerns, (3) which would be highly offensive to a reasonable
       person.

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lvfauri v. Smith, 324 Or. 476, 482-483 (1996).

        I agree with the moving HLG defendants that Wickenkamp has not alleged a viable

intrusion upon seclusion claim against them. It is Wickenkamp's allegation that the Hamptons

effected the complained-of intrusion upon her private affairs; she does not allege that any of the

other defendants participated in that aspect of the complained-of conduct. Wickenkamp does not

offer argument to the contrary. In consequence, the moving HLG defendants' motion should be

granted pursuant to Rule 12(b)(6) as to the intrusion upon seclusion claim to the extent alleged

against Zachary and HLG, and the claim should be dismissed without prejudice as to those

defendants. Moreover, the same reasoning applies with equal force to the intrusion upon

seclusion claim to the extent alleged against Rahn, Knapp, and HK; the claim should likewise be

dismissed without prejudice as to those defendants. By contrast, Wickenkamp's allegations are

sufficient to state a claim against the Hamptons (although as discussed above this court may not

at this time properly exercise personal jurisdiction over any of the Hamptons).

       B.      The Moving ALG Defendants' J\!Iotion to Dismiss Wickenkamp's False Light
               Claim for Failure to State a Claim

       The moving ALG defendants argue under Rule l 2(b)( 6) that Wickenkamp's false light

claim is subject to dismissal for failure to state a claim on the same grounds offered in support of

those defendants' anti-SLAPP motion: the statute oflimitations and the litigation privilege. This

court will only consider the moving ALG defendants' Rule 12(b)(6) arguments to the extent it has

already rejected those same arguments in the context of the moving ALG defendants' special

motion to strike. On the arguendo assumption that the arguments were found to be without merit

for purposes of the anti-SLAPP statute, they would necessarily be similarly without merit in the

context of Rule 12(b)(6). There can therefore be no good ground for granting the moving ALG

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defendants' motion qua motion to dismiss for failure to state a claim.

                                           CONCLUSION

        For the reasons set forth above, (i) the moving HLG defendants' motion (#59) to dismiss

and/or to strike should be granted as to both of Wickenkamp's claims in their entirety for lack of

subject-matter jurisdiction and for failure to comply with Judge Hernandez' order (#45) dated

Janumy 31, 2016, and should otherwise be denied as moot, (ii) all other pending motions should

likewise be denied as moot, and (iii) Wickenkamp's claims should be dismissed with prejudice

and a final judgment should be prepared.

                                     SCHEDULING ORDER

        The Findings and Recommendation will be referred to a district judge. Objections, if any,

are due fourteen (14) days from service of the Findings and Recommendation. Ifno objections

are filed, then the Findings and Recommendation will go under advisement on that date.

        If objections are filed, then a response is due fourteen (14) days after being served with a

copy of the objections. When the response is due or filed, whichever date is earlier, the Findings

and Recommendation will go under advisement.

                                              NOTICE

        A party's failure to timely file objections to any of these findings will be considered a

waiver of that pmty's right to de nova consideration of the factual issues addressed herein and

will constitute a waiver of the party's right to review of the findings of fact in any order or

judgment entered by a district judge. These Findings and Recommendation are not immediately

II I

II I


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appealable to the Ninth Circuit Comi of Appeals. Any notice of appeal pursuant to Rule 4(a)(l)

of the Federal Rules of Appellate Procedure should not be filed until entry of judgment.



       Dated this 14th day of July, 2016.



                                                     ~/Up })1)2
                                             H~norable Paul Papak
                                             United States Magistrate Judge




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